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 8                          UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10                                   SOUTHERN DIVISION
11
     MARK TUCKER, INC.,                              CASE NO. 8:16-cv-01095-JVS-DFM
12
                        Plaintiff,                   Hon. James V. Selna
13
           v.                                        DEFENDANT CATHY GRICE’S
14                                                   NOTICE OF MOTION AND
     CATHY JEAN, INC., a California                  MOTION TO DISMISS SECOND
15   corporation, CARL JONES, AKA BUD                AMENDED COMPLAINT;
     JONES, an individual, CATHY JEAN                MEMORANDUM OF POINTS AND
16   GRICE, an individual, and DOES 1-10,            AUTHORITIES IN SUPPORT
     inclusive,                                      THEREOF; DECLARATION OF
17                                                   BEVERLY JOHNSON
                        Defendants.
18                                                   [Request for Judicial Notice filed
                                                     concurrently herewith]
19
                                                     [Fed. R. Civ. Proc. 12(b)(6)]
20
                                                     Hearing Date: Dec. 5, 2016
21                                                   Time:         1:30 p.m.
                                                     Location:     Courtroom 10C
22                                                   Ronald Reagan Courthouse
                                                     411 W. Fourth Street
23                                                   Santa Ana, CA 92701
24

25         TO THE HONORABLE JAMES V. SELNA, UNITED STATES DISTRICT
26   COURT JUDGE, AND TO ALL PARTIES AND THEIR RESPECTIVE
27   COUNSEL OF RECORD:
28         PLEASE TAKE NOTICE that on Monday, December 5, 2016, at 1:30 p.m.


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 1   or as soon thereafter as counsel may be heard, in Courtroom 10C of the above-
 2   captioned Court, located at 411 West Fourth Street, Santa Ana, California 92701,
 3   Defendant Cathy Grice (hereinafter, “Grice”) will and hereby does move this Court
 4   for an order dismissing the Second Amended Complaint of Plaintiff Mark Tucker,
 5   Inc. (“Plaintiff”) pursuant to Federal Rules of Civil Procedure 12(b)(6) because
 6   Plaintiff is a Franchise Tax Board forfeited California entity, and, as a result,
 7   Plaintiff lacks the capacity to sue, and may not prosecute this action. Although
 8   Plaintiff’s counsel stated on October 21, 2016 that he was unaware of the fact that
 9   his client’s status with the California Secretary of State was forfeited several years
10   ago by the Franchise Tax Board for failure to pay its taxes, and that his client would
11   revive its corporate status, the California Secretary of State has issued a Certificate
12   of Status verifying that Plaintiff’s corporate status is forfeited and has been forfeited
13   since June 1, 2004. As of November 4, 2016, the Secretary of State’s website
14   continues to reflect that Plaintiff is in FTB forfeited status. As a result, Plaintiff
15   cannot prosecute this action. Accordingly, Plaintiff’s Second Amended Complaint
16   and this action must be dismissed in its entirety.
17         This motion is made following the conferences of counsel pursuant to Central
18   District of California Local Rule 7-3, which took place on October 21, 2016 and
19   November 2, 2016.
20         This Motion is based upon this Notice; the accompanying Memorandum of
21   Points and Authorities; the accompanying Declaration of Beverly Johnson, the
22   Request for Judicial Notice filed concurrently herewith; all admissions, pleadings,
23   records, orders, and documents on file herein; such additional matters of which the
24   Court may properly take judicial notice; and upon such oral and documentary
25   evidence and argument as may be presented prior to or at the hearing on this motion.
26   Date: November 4, 2016                 Respectfully Submitted,
27                                          JOHNSON & BERTRAM LLP
                                            By /s/ Beverly A. Johnson
28                                             Beverly A. Johnson
                                               Attorneys for Defendant Cathy Grice

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 1              MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.     INTRODUCTION
 3         Plaintiff Mark Tucker, Inc. (“Plaintiff”) is a Franchise Tax Board forfeited
 4   California entity due to its failure to comply with its obligations under the California
 5   Revenue and Taxation Code. Plaintiff has been in FTB-forfeited status since June 1,
 6   2004. As a result, since that date, Plaintiff has had no capacity to sue in the State of
 7   California. Plaintiff cannot prosecute this action, because Plaintiff remains in
 8   forfeited status. This action should therefore be dismissed.
 9   II.    FACTS
10          Plaintiff filed its original complaint on June 13, 2016. (Dkt 1.) The First
11   Amended Complaint, filed on July 22, 2016, was subjected to motions to dismiss by
12   all defendants, which motions were denied in part and granted in part, with leave to
13   amend. Plaintiff filed its Second Amended Complaint (hereinafter “2AC”) on
14   October 6, 2016. (Dkt 40.)
15          On the evening October 20, 2016, counsel for Defendant Grice searched the
16   California Secretary of State website for the current corporate status of Plaintiff
17   Mark Tucker, Inc. That search revealed a Secretary of State Business Entity Detail
18   showing that the California Franchise Tax Board forfeited all of Plaintiff’s corporate
19   powers, rights, and privileges. (Declaration of Beverly Johnson, ¶ 2, Ex. 1; see also
20   Request for Judicial Notice, Ex. 1.) Prior to October 20, 2016, Defendant Grice was
21   unaware that Plaintiff was an FTB forfeited entity. (Johnson Decl., ¶ 3.)
22          Although Plaintiff has been prosecuting this case and filing multiple
23   successive complaints with the court, it is not permitted to do so because its
24   corporate status was forfeited by the California Franchise Tax Board for its failure to
25   comply with its tax obligations in this state. In fact, Plaintiff Mark Tucker, Inc. has
26   been an FTB-forfeited entity since 2004, throughout the entire time it has been
27   prosecuting this case. (RJN, Ex. 1.)
28          Defendant’s counsel brought the fact of Plaintiff’s FTB-forfeited status to

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 1   Plaintiff’s counsel’s attention in a telephone conference on October 21, 2016.
 2   (Johnson Decl., ¶ 4.) Plaintiff’s counsel responded that he was unaware of that fact.
 3   (Id.) Plaintiff’s counsel agreed, however, to provide all defendants with a two-week
 4   extension of time to respond to the 2AC. (Id.) Though Plaintiff’s counsel has
 5   represented that Plaintiff intends to revive itself by paying the taxes it owes to the
 6   Franchise Tax Board, to date, that has not happened. (Id., ¶ 5.)
 7          As of November 4, 2016, the California Secretary of State’s Business Entity
 8   Detail for Plaintiff continues to reveal that Plaintiff is an “FTB FORFEITED” entity.
 9   (RJN, Ex. 2; Johnson Decl., ¶7.) Plaintiff has not been willing to grant defendants a
10   further extension of time to respond to the 2AC, thus necessitating this Motion.
11   (Johnson Decl., ¶ 6.)
12   III.   LEGAL STANDARD
13          “A claim made by or against a party that lacks the capacity to sue or be sued
14   should be dismissed under Rule 12(b)(6) for failure to state a claim ‘upon which relief
15   can be granted.’” Farina Focaccia & Cucina Italiana, LLC v. 700 Valencia St. LLC,
16   No. 15-CV-02286-JCS, 2015 WL 4932640, at *5 (N.D. Cal. Aug. 18, 2015) (citing,
17   inter alia, Fed. R. Civ. P. 12(b)(6); Banks.com, Inc. v. Keery, No. C09–06039 WHA,
18   2010 WL 727973, at *2, *7 (N.D. Cal. Mar. 1, 2010) (dismissing the plaintiff's claims
19   against a defendant under Rule 12(b)(6) for that defendant's lack of capacity to be
20   sued); Lindsey v. Starwood Hotels & Resorts Worldwide Inc., 409 Fed. Appx. 77, 78
21   (9th Cir.2010). “[A]ny organization, regardless of its structure or citizenship, must be
22   current with respect to its California taxes” in order to prosecute an action in
23   California. Farina Focaccia & Cucina Italiana, 2015 WL 4932640, at *6 (citing Grell
24   v. Laci Le Beau Corp., 73 Cal. App. 4th 1300, 1306 (1999)).
25          On June 1, 2004, the California Franchise Tax Board forfeited Plaintiff Mark
26   Tucker, Inc.’s powers, rights and privileges pursuant to the provisions of the
27   California Revenue and Taxation Code. (RJN, Ex. 1.) Plaintiff’s powers, rights and
28   privileges continue to remain forfeited. (Id., Exs. 1, 2.) Plaintiff therefore cannot

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 1   prosecute this action in this court or in any other California court.
 2   IV.    PLAINTIFF LACKS THE CAPACITY TO SUE AND CANNOT
 3          PURSUE THIS ACTION BECAUSE PLAINTIFF’S CORPORATE
 4          STATUS WAS FORFEITED BY THE CALIFORNIA
 5          FRANCHISE TAX BOARD AND HAS NOT BEEN REVIVED

 6          California Revenue & Taxation Code § 23301 “provides for the suspension or

 7   forfeiture of ‘the corporate powers, rights, and privileges’ of a domestic or foreign

 8   corporation that does not pay its taxes.” May v. Semblant, Inc., No. 5:13-CV-01576-

 9   EJD, 2013 WL 5423614, at *3 (N.D. Cal. Sept. 27, 2013). Suspended or forfeited

10   corporations “may not prosecute or defend an action, appeal from an adverse

11   judgment, seek a writ of mandate, or renew a judgment obtained prior to

12   suspension.” See id. (citing Grell v. Laci Le Beau Corp., 73 Cal.App. 4th 1300, 1306

13   (1999)); Weinstock v. Sinatra, 379 F. Supp. 274, 275 (C.D. Cal. 1974) (stating that

14   forfeiture of a corporation for failure to meet the franchise tax obligations of the

15   California Revenue and Taxation Code “brings with it the inability to . . . sue . . .

16   within the State of California”). “The purpose of Revenue and Taxation Code

17   section 23301 is to prohibit the delinquent corporation from enjoying the ordinary

18   privileges of a going concern, and to pressure it to pay its taxes.” Grell, 73 Cal. App.

19   4th at 1306 (citations omitted). “Even a demurrer filed while a corporation is

20   suspended is ‘an unauthorized act by a suspended corporation in violation of

21   Revenue and Taxation Code § 23301.’” May, 2013 WL 5423614, at *3.

22          On June 1, 2004, the California Franchise Tax Board forfeited Plaintiff Mark

23   Tucker, Inc.’s powers, rights, and privileges for its failure to comply with the state’s

24   Revenue and Taxation Code. (RJN, Ex. 1.) Throughout the entire time Plaintiff has

25   been prosecuting this case and filing multiple successive complaints with the court, it

26   was not permitted to do so because its corporate status in California was forfeited.

27   (RJN, Exs. 1, 2.) Each of Plaintiff’s filings was therefore an unauthorized act in

28   violation of the Revenue and Taxation Code. Plaintiff lacks the capacity to sue and

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 1   cannot prosecute this action. This action therefore must be dismissed.
 2   V.     CONCLUSION
 3         For all the foregoing reasons, Grice respectfully requests that this action and
 4   each and every claim therein be dismissed in their entirety.
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 6   Date: November 4, 2016                 Respectfully Submitted,
 7                                          JOHNSON & BERTRAM LLP
 8
                                            By /s/ Beverly A. Johnson
 9                                             Beverly A. Johnson
                                               Christy L. Bertram
10                                             Attorneys for Defendant Cathy Grice
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 1                       DECLARATION OF BEVERLY JOHNSON
 2         I, Beverly A. Johnson, declare as follows:
 3        1.      I am a partner at Johnson & Bertram LLP, counsel of record for
 4   Defendant Cathy Grice in this action. I am licensed to practice law in the State of
 5   California and before this Court. I have personal knowledge of the matters stated
 6   herein, and could and would competently testify thereto in a court of law if called
 7   upon to do so.
 8        2.      On the evening October 20, 2016, I searched the California Secretary of
 9   State website for the current corporate status of Plaintiff Mark Tucker, Inc. My
10   search revealed a California Secretary of State Business Entity Detail for Plaintiff,
11   showing that the California Franchise Tax Board had forfeited Plaintiff’s powers,
12   rights, and privileges. Attached hereto as Exhibit 1 is the California Secretary of
13   State Business Entity Detail for Plaintiff, which I located, saved, and printed on
14   October 20, 2016.
15        3.      Prior to October 20, 2016, I was not aware that Plaintiff was an FTB
16   forfeited entity in California.
17        4.      I called Plaintiff’s counsel, Andrew Jablon, on October 21, 2016, and
18   also emailed him, to bring the fact of Plaintiff’s FTB forfeited status to his attention.
19   When we spoke by phone that day, I asked Mr. Jablon if he knew that Mark Tucker,
20   Inc. was in FTB-forfeited status, as reported by the California Secretary of State
21   website. Mr. Jablon responded that he was unaware of that fact. I informed Mr.
22   Jablon that Defendant Grice would be moving to dismiss the Second Amended
23   Complaint because Plaintiff did not have the capacity to sue in California due to its
24   FTB forfeited status, and could not continue prosecuting this action. Mr. Jablon did
25   not agree, but rather asked me for any legal authority supporting my position. I sent
26   Mr. Jablon an email that afternoon, setting forth two case opinions I had located
27   during my initial research that morning on the issues. Mr. Jablon did agree,
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 1   however, to provide all defendants with a two-week extension of time to respond to
 2   Plaintiff’s Second Amended Complaint. I prepared the Stipulation and proposed
 3   Order to that effect, and after Mr. Jablon’s revisions thereto, and after receiving all
 4   authorizations from all counsel of record, I filed the Stipulation and proposed Order
 5   with the Court that day; it is Document Number 41 in this case.
 6        5.      Though Mr. Jablon has acknowledged that Plaintiff’s corporate status
 7   has been forfeited by the California FTB, and has stated that Plaintiff intends to
 8   revive itself by paying the taxes it owes to the Franchise Tax Board, to date, the
 9   California Secretary of State’s website reveals that Plaintiff has not been revived.
10        6.      On November 1, 2016, I emailed Mr. Jablon to request that he provide
11   defendants with an additional two-week extension of time to respond to the Second
12   Amended Complaint in light of the fact that Plaintiff’s status remained FTB-
13   forfeited. Mr. Jablon responded on November 2 acknowledging that Plaintiff was
14   still in forfeited status. He did not, however, agree to any further extension of time.
15        7.      On the afternoon of November 4, 2016, I searched the California
16   Secretary of State website for the current corporate status of Plaintiff Mark Tucker,
17   Inc. As of November 4, 2016, the California Secretary of State’s Business Entity
18   Detail for Plaintiff continues to reveal that Plaintiff is an “FTB FORFEITED” entity.
19         I declare under penalty of perjury under the laws of the United States of
20         America that the foregoing is true and correct. Executed this 4th day of
21         November, 2016.
22                                                        _/s/Beverly A. Johnson ______
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